            Case 2:20-cv-01323-RAJ Document 144 Filed 09/27/21 Page 1 of 3




 1                                                                      The Honorable Richard A. Jones
                                                                      The Honorable J. Richard Creatura
 2

 3

 4

 5

 6

 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   EL PAPEL, LLC, et al.,                                    NO. 2:20-cv-01323-RAJ-JRC
10                               Plaintiffs,                   DEFENDANT ROBERT W,
                                                               FERGUSON’S OBJECTIONS TO
11           v.                                                REPORT AND
                                                               RECOMMENDATION
12   JENNY DURKAN, et al.,
                                                               NOTE ON MOTION CALENDAR
13                               Defendants.                   October 15, 2021
14

15                                              OBJECTIONS

16           Defendant Attorney General Robert W. Ferguson respectfully submits two objections to

17   the Report and Recommendation entered on September 15, 2021. Dkt. #141.

18           First, the Report and Recommendation addressed the merits of Plaintiffs’ claims because

19   “plaintiffs are claiming nominal damages and declaratory relief.” Dkt. #141 at 13. But for the

20   reasons injunctive relief against the State is moot, so too is Plaintiffs’ claim for declaratory relief.

21   See Dkt. #104 at pp. 21–22; Dkt. #121 at pp. 11–12. This is because a claim for declaratory relief

22   seeks to determine the legal rights and obligations of the parties with prospective effect. Because

23   it is prospective, such a claim may be mooted by changed circumstances, like changes in a

24   defendant’s policies that “make it absolutely clear that the allegedly wrongful behavior could

25   not reasonably be expected to recur.” Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC),

26   Inc., 528 U.S. 167, 170 (2000). By contrast, a claim for retrospective relief, like a claim for


       DEFENDANT ROBERT W.                                 1                ATTORNEY GENERAL OF WASHINGTON
                                                                                 Complex Litigation Division
       FERGUSON’S OBJECTIONS TO                                                   800 5th Avenue, Suite 2000
       REPORT AND RECOMMENDATION                                                   Seattle, WA 98104-3188
       NO. 2:20-cv-01323-RAJ-JRC                                                        (206) 474-7744
            Case 2:20-cv-01323-RAJ Document 144 Filed 09/27/21 Page 2 of 3




 1   nominal damages, is unaffected by such a change in circumstances. The State Moratorium ended
 2   on June 30, 2021, mooting Plaintiffs’ requests for both injunctive and declaratory relief. See
 3   Engrossed Second Substitute S.B. 5160, 67th Leg., Reg. Sess. (Wash. 2021), enacted as 2021
 4   Wash. Sess. Laws, ch. 115; Proclamation 20-19.6.
 5          Second, the Report and Recommendation “assumes that the State’s restriction
 6   substantially impaired the contractual relationship.” Dkt. #141 at p 14. While this assumption
 7   does not amount to a factual finding or conclusion of law, in an abundance of caution, Attorney
 8   General Ferguson objects to it to preserve any future argument that the State Moratorium did not
 9   substantially impair contractual relationships for the reasons stated in the State’s cross-motion
10   for summary judgment. See Dkt. #104 at pp. 23–29; see also Dkt. #121 at pp. 13–15.
11          DATED this 27th day of September, 2021.
12                                             ROBERT W. FERGUSON
                                               Attorney General
13
                                               /s/ Cristina Sepe
14                                             CRISTINA SEPE, WSBA #53609
                                               BRIAN H. ROWE, WSBA #56817
15                                             Assistant Attorneys General
                                               JEFFREY T. EVEN, WSBA #20367
16                                             Deputy Solicitor General
                                               800 Fifth Avenue, Suite 2000
17                                             Seattle, WA 98104
                                               (206) 332-7089
18                                             cristina.sepe@atg.wa.gov
                                               brian.rowe@atg.wa.gov
19                                             jeffrey.even@atg.wa.gov
20                                             Attorneys for Defendant Robert W. Ferguson,
                                               in his official capacity as Attorney General
21                                             of the State of Washington
22

23

24

25

26


       DEFENDANT ROBERT W.                             2               ATTORNEY GENERAL OF WASHINGTON
                                                                            Complex Litigation Division
       FERGUSON’S OBJECTIONS TO                                              800 5th Avenue, Suite 2000
       REPORT AND RECOMMENDATION                                              Seattle, WA 98104-3188
       NO. 2:20-cv-01323-RAJ-JRC                                                   (206) 474-7744
            Case 2:20-cv-01323-RAJ Document 144 Filed 09/27/21 Page 3 of 3




 1                                   DECLARATION OF SERVICE
 2          I hereby declare that on this day I caused the foregoing document to be electronically

 3   filed with the Clerk of the Court using the Court’s CM/ECF System which will send notification

 4   of such filing to all counsel of record.

 5          DATED this 27th day of September 2021, at Tacoma, Washington.

 6
                                                /s/ Cristina Sepe
 7                                              CRISTINA SEPE, WSBA #53609
                                                Assistant Attorney General
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


       DEFENDANT ROBERT W.                            3              ATTORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
       FERGUSON’S OBJECTIONS TO                                            800 5th Avenue, Suite 2000
       REPORT AND RECOMMENDATION                                            Seattle, WA 98104-3188
       NO. 2:20-cv-01323-RAJ-JRC                                                 (206) 474-7744
